  United States District Court
                 Southern District of New York

                                                           1:19-cv-08694(VM)


      DONALD J. TRUMP,
                                                           Plaintiff,

                           - against -

      CYRUS R. VANCE, JR., in his official capacity
      as District Attorney of the County of New York;

      and

      MAZARS USA, LLP,
                                                       Defendants.


              MEMORANDUM OF LAW
IN SUPPORT OF CYRUS R. VANCE, JR.’S MOTION TO
DISMISS AND IN OPPOSITION TO PLAINTIFF’S
EMERGENCY RELIEF MOTION


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 DONALD. J. TRUMP,

                                       Plaintiff,       Case No. 1:19-cv-08694 (VM)

                       -against-                                VIA ECF

 CYRUS R. VANCE, JR. in his official capacity    MEMORANDUM OF LAW IN
 as District Attorney of the County of New York; SUPPORT OF DEFENDANT CYRUS
 and                                             R. VANCE, JR’S MOTION TO DISMISS
                                                 AND IN OPPOSITION TO
 MAZARS USA, LLP,                                PLAINTIFF’S MOTION FOR
                                                 EMERGENCY RELIEF
                                   Defendants.


       Cyrus R. Vance, Jr., in his official capacity as District Attorney for the County of New York,

submits this memorandum of law in support of his motion to dismiss the Complaint, and in

opposition to the Plaintiff’s motion for a temporary restraining order and preliminary injunction.


                                        INTRODUCTION

       This suit invites a federal court to intervene in a state grand jury proceeding and rule on the

validity of a subpoena issued by a New York County Grand Jury to Mazars USA, LLP on August 29,

2019 (the “Mazars Subpoena”). The Mazars Subpoena calls for financial and tax records of a number

of New York entities and individuals, including those of the Plaintiff Donald J. Trump, President of

the United States. The subpoena is amenable to the same challenges in the New York courts that a

federal forum provides, and the Plaintiff has failed to show as a threshold matter why this Court

should be tasked with overseeing its enforcement. Important separation of powers and federalism

concerns prohibit federal litigation of a state court subpoena. Under longstanding statutory law and

jurisprudence tracing back to the Judiciary Act of 1793, this Court should dismiss the complaint in

favor of a state court forum.

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         With respect to Plaintiff’s demands for emergency injunctive relief, his underlying claims also

lack merit. In particular, those claims rely on the remarkable proposition that a sitting President enjoys

not only a blanket immunity from criminal prosecution, but (1) that this blanket immunity also

protects a president from having to respond to any routine, lawful grand jury request for information

about his conduct or that of his businesses or employees before he took office; (2) that the blanket

immunity also extends to any person or entity who happened to be associated with or employed by

the President before he took office; and (3) that this blanket immunity also prevents any third party

from providing information to the grand jury about such prior conduct or transactions involving the

President or his companies or former employees. In other words, the Plaintiff’s position is that none

of this conduct, unrelated to the office of the President, can be investigated while the President

remains in office. For the reasons discussed below, the law provides no such sweeping immunity.

The Plaintiff’s requests for emergency relief should be denied in all respects.


                                             DISCUSSION

         While a motion to dismiss under Rule 12(b)(6) requires the Court to accept as true all factual

allegations and draw all reasonable inferences in Plaintiff’s favor, “this tenet ‘is inapplicable to legal

conclusions,’ as well as to ‘[t]hreadbare recitals of the elements of a cause of action, supported by mere

conclusory statements.’” Astoria Gen. Contracting Corp. v. Office of Comptroller of City of New York, 159 F.

Supp. 3d 385, 395 (S.D.N.Y. 2016) (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). To survive here,

Plaintiff must “state a claim to relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550

U.S. 544, 570 (2007). See also Astoria Gen. Contracting Corp. v. City of New York Office of Comptroller, 740

F. App’x 747, 749 (2d Cir. 2018) (affirming dismissal of constitutional claims against state office under

Younger abstention where “the state court action afforded a full and fair opportunity to litigate the

issue[.]”).



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        “Since 1793 . . . federal courts have been instructed not to grant injunctive relief to interfere

with state judicial functions, with rare exceptions justified only in the most extraordinary exigencies.”

Glatzer v. Barone, 614 F. Supp. 2d 450, 452 (S.D.N.Y. 2009) (Marrero, J.), aff'd, 394 F. App’x 763 (2d

Cir. 2010).   As described below, Plaintiff fails to present a plausible exigency justifying the

extraordinary relief he seeks, and his suit is improperly founded in the Supremacy Clause, which

provides no cause of action to enjoin state actors for alleged constitutional violations. Armstrong v.

Exceptional Child Ctr., Inc., 135 S.Ct. 1378 (2015). “Where, as here, a defendant moves to dismiss for

improper venue pursuant to Rule 12(b)(3), a court may consider evidence outside the four corners of

the complaint, including affidavits and other documentary evidence.” Martinez v. Bloomberg LP, 883 F.

Supp. 2d 511, 513 (S.D.N.Y. 2012), aff’d, 740 F.3d 211 (2d Cir. 2014) (citing Gulf Ins. Co. v. Glasbrenner,

417 F.3d 353, 355 [2d Cir. 2005]).

        Plaintiff’s motion for emergency relief falters on some of the same grounds requiring dismissal

of the complaint: he has not pled facts to show he is likely to suffer irreparable harm in the absence

of the requested relief. See Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008). Nor

has he cited authority showing that his expansive claim to blanket immunity from investigation for

himself, his companies, and their employees is likely to succeed on the merits. Id. Indeed, the balance

of equities and the public interest here militate in favor of rejection of the requested relief. Id. Under

long-settled precedent, the Grand Jury is entitled to the evidence it seeks; must be allowed to pursue

its investigation free from interference and litigious delay; and the People of the State of New York

have a right to inquire whether their laws have been violated by New York entities and individuals,

and to remove any doubt if they have not.

        For these reasons and those discussed below, Plaintiff’s motion for emergency relief should

be denied, and the Court should dismiss the Complaint.




                                                    3
                        I. THIS ACTION SHOULD BE IN STATE COURT

A. The Mazars Subpoena is a Proper Exercise of the Grand Jury’s Authority to Investigate
New York Conduct, and Any Challenge Should be Lodged in State Court

        “The grand jury is a “constitutional fixture,” “[r]ooted in long centuries of Anglo–American

history.” In re Grand Jury Subpoena dated Aug. 9, 2000, 218 F. Supp. 2d 544, 550 (S.D.N.Y. 2002)

(ordering compliance by a third-party corporation over a foreign government’s objection based on

executive privilege) (citing United States v. Williams, 504 U.S. 36, 47 (1992)).

        “The scope of the grand jury’s broad investigative powers is aptly described by ‘the

longstanding principle that ‘the public ... has a right to every man's evidence.’” In re Grand Jury Subpoena

dated Aug. 9, 2000, 218 F. Supp. 2d at 551 (citing Branzburg v. Hayes, 408 U.S. 665, 688 [1972]).

“Nowhere is the public’s claim to each person’s evidence stronger than in the context of a valid grand

jury subpoena.” Id. (citing In re Grand Jury Proceedings, 219 F.3d 175, 186 (2d Cir. 2000)). New York

law accords grand juries the same prerogative. See Virag v. Hynes, 54 N.Y.2d 437, 443, (1981) (“The

Grand Jury is an investigatory body with broad exploratory powers, the scope of which are not to be

limited narrowly by questions of propriety or forecasts of the probable result of the investigation, or

by doubts whether any particular individual will be found properly subject to an accusation of crime.”)

(internal citation omitted).

        Settled law presumes, “absent a strong showing to the contrary, that a grand jury acts within

the legitimate scope of its authority.” United States v. R. Enterprises, Inc., 498 U.S. 292, 300–01 (1991)

(internal citation omitted). The recipient of a grand jury subpoena bears the burden of overcoming

this presumption of validity, id. at 293, and the grand jury “should not be hindered in its quest by

witnesses who continually litigate the threshold validity of its subpoenas.” Hynes, 54 N.Y.2d at 445.

        Plaintiff’s assertion of executive immunity, whatever its merits in the post-indictment context,

presents no basis to quash. Plaintiff has not been identified as a defendant, nor is there an assumption

that he will be. Indeed “the identity of the offender, and the precise nature of the offense, if there be

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one, normally are developed at the conclusion of the grand jury's labors, not at the beginning.” R.

Enterprises, Inc., 498 U.S. at 297. The grand jury’s operations are generally “unrestrained” by the rules

governing criminal trials. Id. at 298. Thus any immunity from criminal trial available to a sitting

President—and to be clear, Plaintiff fails to identify such a rule—would not in any case impact a grand

jury’s ability to subpoena documents.

        To the extent that Plaintiff has a valid challenge to the Mazars Subpoena, it should be litigated

in the New York court having jurisdiction over the Grand Jury that issued the subpoena. New York

law affords equal protection against improper subpoenas, whether they be challenged under the

United States Constitution, which state courts must uphold pursuant to the Supremacy Clause, or

challenged as being in “bad faith or . . . for some other reason invalid.” Hynes, 54 N.Y.2d at 442-43;

see Fed. R. Civ. P. 17(c)(2) (providing that subpoenas may be quashed where compliance would be

“unreasonable” or “oppressive.”).


B. Under 28 U.S.C. § 2283 and the Younger Abstention Doctrine, This Court Should Deny
Plaintiff’s Emergency Motion

        1. The Legal Standard

        “Since the beginning of this country’s history Congress has, subject to few exceptions,

manifested a desire to permit state courts to try state cases free from interference by federal courts.”

Younger v. Harris, 401 U.S. 37, 43 (1971) (recounting that, since 1793, few exceptions have been enacted

that allow federal courts to interfere in state cases); see Glatzer, 614 F. Supp. 2d at 456-47 (“As a starting

point, longstanding federal statutory and case law, whose origins trace back to the Judiciary Act of

1793, have manifested a policy of imposing rigid constraints on federal court authority to issue

injunctions to restrain the commencement or completion of state court proceedings.” [citations

omitted]). In particular, the Anti-Injunction Act, 28 U.S.C. § 2283 (“§ 2283”), provides that “[a] court

of the United States may not grant an injunction to stay proceedings in a State court except as expressly


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authorized by Act of Congress, or where necessary in aid of its jurisdiction, or to protect or effectuate

its judgments.” See New Orleans Public Service, Inc. v. Council of City of New Orleans, 491 U.S. 350, 359

(1989) (“NOPSI”) (noting “the undisputed constitutional principle that Congress, and not the

Judiciary, defines the scope of federal jurisdiction within the constitutionally permissible bounds”)

(citation omitted).

        There are three classes of cases for which the Supreme Court has held that Younger abstention

is appropriate:    1) intrusion into ongoing “state criminal prosecutions”; 2) “civil enforcement

proceedings”; and 3) “civil proceedings involving certain orders that are uniquely in furtherance of the

state courts’ ability to perform their judicial functions.” NOPSI, 491 U.S. at 368 (citations omitted);

see Sprint Communications v. Jacobs, 571 U.S. 69, 78 (2013). Here, the issuance of the state grand jury

subpoena to a third-party corporation in furtherance of the judicial function of a grand jury falls under

the circumstances described by the Supreme Court. Mirka United, Inc. v. Cuomo, 2007 WL 4225487, at

* 4 (S.D.N.Y. 2007).

        If such a circumstance exists, as it does here, then the following additional factors should be

considered by a federal court before invoking Younger (see Sprint, 571 U.S. at 81-82): “(1) is there an

ongoing state proceeding; (2) is an important state interest implicated; [and] (3) does the plaintiff have

an avenue open for review of constitutional claims in the state court?” Cecos Int’l, Inc. v. Jorling, 895

F.2d 66, 70 (2d Cir. 1990) (citing Middlesex County Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423,

432 [1982]). Here, undoubtedly all three questions are answered with a simple “Yes.” There is an

ongoing state proceeding; states unquestionably have an important interest in the enforcement of their

grand jury subpoenas; and Plaintiff can raise his constitutional claims in state court. See Perez v. Ledesma,

401 U.S. 82, 84 (1971) (“It is difficult to imagine a more disruptive interference with the operation of

the state criminal process short of an injunction against all state proceedings.”).




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        Under the Younger abstention doctrine, a federal court must “exercise utmost restraint when

asked to enjoin state court functions.” Glatzer, 614 F. Supp. 2d at 457. Unless “a person about to be

prosecuted in a state court can show that he will, if the proceeding in the state court is not enjoined,

suffer irreparable damages,” (Younger, 401 US at 43 [citing Ex parte Young, 209 U.S. 123 (1908)]), the

notion of “comity” and “Our Federalism” dictate that federal courts not interfere in state court

proceedings. Younger, 401 U.S. at 43-50 (reviewing the history of this longstanding public policy); see

Kugler v. Helfant, 421 U.S. 117, 123 (1975).

        To obtain the federal forum he seeks, Plaintiff must demonstrate that “‘state procedural law

barred presentation of [his] claims.’” Pennzoil Co. v. Texaco, Inc., 481 US 1, 14 (1987) (quoting Moore v.

Sims, 442 U.S. 415, 432 [1979]). Article VI of the Constitution declares that “Judges in every State

shall be bound” by the Federal Constitution. Id. at 15. “Accordingly, when a litigant has not attempted

to present his federal claims in related state-court proceedings, a federal court should assume that state

procedures will afford an adequate remedy, in the absence of unambiguous authority to the contrary.”

Id. Here, there is no indication in the record that state procedural law barred Plaintiff’s claims, and

Plaintiff makes no attempt to explain why his emergency motion for a temporary restraining order

and preliminary injunction addressing a state grand jury subpoena could not have been brought in

state court. Since it is “abundantly clear that [Plaintiff] had an opportunity to present [his] federal

claims in the state proceedings[,] . . . [n]o more is required to invoke Younger abstention.” Juidice v.

Vail, 430 U.S. 327, 337 (1977); see Pennzoil, 481 U.S. at 17.



        2. Application of the Standard Here Compels Abstention

        Here, the question is not whether a state prosecutor can indict a sitting President. That is not

the issue before the Court. Instead, the issue is whether a third party, having been duly served with a

state grand jury subpoena seeking the books and records of a number of individuals and corporate

                                                    7
entities, including those of the President, must comply with the subpoena. Whether the Mazars

Subpoena, if enforced, may at some point in the future result in the prosecution of any entities or

individuals is entirely speculative. It is possible that no case will be presented to the grand jury, or, if

a case is presented, that the grand jury would not return an indictment. And, indeed, if the grand jury

returned an indictment, it is possible that it would not name Plaintiff.

        The Mazars Subpoena presents no irreparable harm, even under Plaintiff’s theory of immunity.

If, as Plaintiff has alleged, not only he but all related companies and their employees enjoy an immunity

from prosecution while he is a sitting President, no prosecution could, in fact, commence at this time.

Even the OLC memo cited by Plaintiff contemplates a grand jury continuing to investigate, while at

the same time allowing for immunity from prosecution while in office. See A Sitting President’s

Amenability to Indictment and Criminal Prosecution, 24 O.L.C. Op. 222, 257 n. 36 (Oct. 16, 2000) (“OLC

Memo”) (“A grand jury could continue to gather evidence throughout the period of [a sitting

President’s] immunity, even passing this task down to subsequently empaneled grand juries if

necessary.”). Thus, Plaintiff’s allegations of immediate and irreparable harm are speculative, unripe,

and without foundation. He asks the Court to decide a hypothetical future issue, instead of the issue

before it today. See Stefanelli v. Minard, 342 U.S. 117, 123 (1951) (“If the federal equity power must

refrain from staying State prosecutions outright to try the central question of the validity of the statute

on which the prosecution is based, how much more reluctant must it be to intervene piecemeal to try

collateral issues.”).

        Further, Plaintiff has not even attempted to plead an exception to § 2283. He cites no Act of

Congress, or any of the other exceptions under the Anti-Injunctive Act. To the extent he attempts to

use the Article VI Supremacy Clause in an attempt to secure federal jurisdiction (see Pl. Memo of Law

at 8), this Court has held that the invocation of the Supremacy Clause of the United States Constitution

as grounds for injunctive relief in a pending state court proceeding “would violate fundamental

                                                     8
constitutional principles and statutory limitations on the federal courts’ equitable powers.” Glatzer,

614 F. Supp. 2d at 456; see Armstrong, 135 S.Ct. at 1378.

        Under the “basic principle of federalism,” a federal court may not intervene in a state

proceeding “in the absence of special circumstances suggesting bad faith, harassment or irreparable

injury that is both serious and immediate.” Gibson v. Berryhill, 411 U.S. 564, 573-74 (1973). In order

to establish such irreparable harm, a challenged state proceeding must be “flagrantly and patently

violative of express constitutional prohibitions.” Younger, 401 U.S. at 53-54 (citations and internal

citation marks omitted). “[S]tandard injuries such as the cost, anxiety, and inconvenience associated

with defending against a state criminal prosecution or appealing a civil lawsuit in state courts, without

more, cannot be considered ‘irreparable’ so as to satisfy the rigorous test.” Glatzer, 614 F. Supp. 2d at

460 (citing Dombrowski v. Pfister, 380 U.S. 470, 484-85 [1965]).

        As discussed in more detail below, Plaintiff has not made a showing of bad faith, harassment

or irreparable harm. “‘[O]nly in cases of proven harassment or prosecutions undertaken by state

officials in bad faith without hope of obtaining a valid conviction and perhaps in other extraordinary

circumstances where irreparable injury can be shown is federal injunctive relief against pending state

prosecutions appropriate.’” Kugler, 421 U.S. at 124 (quoting Ledesma, 401 U.S. at 85 ). “But whatever

else is required, such circumstances must be ‘extraordinary’ in the sense of creating an extraordinarily

pressing need for immediate federal equitable relief, not merely in the sense of presenting a highly

unusual factual situation.” Kugler, 421 U.S. at 125. Notably, contrary to Plaintiff’s apparent contention,

“bad faith” does not mean “collusive actions,” but instead means it has “been brought without a

reasonable expectation of obtaining a valid conviction.” Kugler, 421 U.S. at 126 n. 6 (citing Ledesma,

401 U.S. at 85).

        In sum, for the reasons stated above, defendant Vance’s motion to dismiss should be granted,

and Plaintiff’s motion for a temporary restraining order and preliminary injunction should be denied.

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C. The Process Under 28 U.S.C. § 1442 to Remove a Case from State to Federal Court is Not
Applicable Here

        Although Plaintiff has not identified an Act of Congress that would permit this Court to grant

an injunction and stay the state court proceedings, one statute that allows for the removal of a pending

state action to federal court is 28 U.S.C. § 1442. However, this statute is not applicable to Plaintiff or

the various corporate entities, and the individuals associated with those entities, named in the Mazars

Subpoena. Here, Plaintiff fails to meet the two criteria for section 1442 removal to federal court. The

Mazars Subpoena is directed to a third party, and not an officer or agency of the United States.

Further, Plaintiff has not put forth a colorable defense arising out of his duty to enforce federal law.

        “Section 1442(a)(1) permits the removal of, not only those actions commenced in state court

that potentially expose a federal official to civil liability or criminal penalty for an act performed in the

past under color of office, but also the removal of civil matters that seek to either prohibit or require

certain actions by a federal official in the future.” Florida v. Cohen, 887 F.2d 1451, 1453 (11th Cir. 1989)

(citations omitted). “Only two prerequisites must be met before an action may be removed under §

1442(a)(1): first, the case must be against any officer, agency, or agent of the United States for any act

under color of such office; and second, the federal actor or agency being challenged must raise a

colorable defense arising out of its duty to enforce federal law.” Id. at 1453-54 (citing Mesa v. California,

489 U.S. 121 [1989]; Willingham v. Morgan, 395 U.S. 402, 406-07 (1969); Loftin v. Rush, 767 F.2d 800,

804 [11th Cir. 1985]).

        Here, neither of these provisions apply, because, for all but a small time period of the dates

cited in the subpoena, Plaintiff was not an officer of the United States, nor was he acting under the

color of his office. Further, neither the Trump Organization nor any of its affiliates or employees has

any possible claim that that they are protected officers, agents, or agencies, or that they were acting

under color of law. Simply put, there is no federal question raised by a state-law examination of

whether a private citizen or the Trump Organization has committed state crimes. Mesa, 489 U.S. at
                                                     10
128. As the Supreme Court stated in Mesa, it has “not departed from the requirement that federal

officer removal must be predicated on the allegation of a colorable federal defense.” Id. at 129. “In

sum, an unbroken line of this Court’s decisions extending back nearly a century and a quarter have

understood all the various incarnations of the federal officer removal statute to require the averment

of a federal defense.” Id. at 133-34. “‘[U]nder our federal system, it goes without saying that

preventing and dealing with crime is much more the business of the States than it is of the Federal

Government. Because the regulation of the crime is pre-eminently a matter for the States, we have

identified strong judicial policy against federal interference with state criminal proceedings.’” Id. at

138 (quoting Arizona v. Manypenny, 451 U.S. 232, 243 [1981] [citations and internal quotation marks

omitted]).

        In other words, to the extent Plaintiff attempts to argue that 28 U.S.C. § 1442 permits removal

from state to federal court, his claim must fail since, during the majority of the time covered in the

Mazars Subpoena, he was not an officer of the United States, nor were his various corporate entities

agencies of the United States.


II. THIS COURT SHOULD DENY PLAINTIFF’S MOTION FOR A TEMPORARY
RESTRAINING ORDER AND PRELIMINARY INJUNCTION, AS HE HAS FAILED TO
SHOW EITHER IRREPARABLE HARM OR A LIKELIHOOD OF SUCCESS ON THE
MERITS

        Plaintiff asks this court to take the extraordinary step of entering a temporary restraining order

and preliminary injunction to prevent Mazars from complying with a New York state grand jury

subpoena. The request should be denied as he fails to satisfy any of the demanding requirements for

such relief, including a showing of irreparable harm and a likelihood of success on the merits.

        A preliminary injunction should only be granted if the moving party has established: (1) a

likelihood of success on the merits; (2) that he is likely to suffer irreparable harm without the relief

requested; (3) that the balance of equities tips in his favor; and (4) that an injunction is in the public


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interest. Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7, 20 (2008). Granting a preliminary

injunction is “an extraordinary and drastic remedy” and “one that should not be granted unless the

movant, by a clear showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968,

972 (1997) (internal quotations and citations omitted).


A.      Plaintiff Has Failed to Satisfy His Burden of Showing Irreparable Harm

        The moving party bears the burden of showing irreparable harm, a showing that is “essential

to the issuance of a preliminary injunction.” Shapiro v. Cadman Towers, Inc., 51 F.3d 328, 332 (2d Cir.

1995) (citation omitted). Indeed, the showing of irreparable harm is “[p]erhaps the single most

important prerequisite for the issuance of a preliminary injunction. . . .” Bell & Howell: Mamiya Co. v.

Masel Supply Co. Corp., 719 F.2d 42, 45 (2d Cir. 1983) (citing 11 C. Wright & A. Miller, Federal Practice

and Procedure § 2948, at 431 [1973]).

        To demonstrate irreparable harm, a moving party must show “an injury that is neither remote

nor speculative, but actual and imminent.” Shapiro v. Cadman Towers, Inc., 51 F.3d 328, 332 (2d Cir.

1995); see Winter, 555 U.S. at 22 (“Issuing a preliminary injunction based only on a possibility of

irreparable harm is inconsistent with our characterization of injunctive relief as an extraordinary

remedy. . . .”). As the Second Circuit has framed it, the irreparable harm standard is “where, but for

the grant of equitable relief, there is a substantial chance that upon final resolution of the action the

parties cannot be returned to the positions they previously occupied.” Brenntag Int’l Chemicals, Inc. v.

Bank of India, 175 F.3d 245, 249 (2d Cir. 1999).

        In an attempt to demonstrate irreparable harm necessitating suspension of the Mazars

Subpoena, Plaintiff first claims that “there will be no way to unring the bell once Mazars complies . .

. . ” Pl. Memo of Law at 3. He argues that this irreparable harm will be caused (1) by the DA’s Office

being in possession of documents related to the President, and (2) by the DA’s Office “exposing [the

President’s] confidential financial information.” Pl. Complaint ¶ 53.
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        Despite Plaintiff’s assertion to the contrary, if Mazars were to begin producing documents and

a court later invalidates the Mazars Subpoena, that bell could absolutely be “unrung,” so to speak,

with all of the parties being “returned to the positions they previously occupied.” Bank of India, 175

F.3d at 249. As with all material obtained pursuant to a grand jury subpoena, the DA’s Office would

have a legal and ethical obligation to maintain the Mazars compliance confidentially. See N.Y. C.P.L.

§ 190.25(4)(a). In the event that a court later deems the Mazars Subpoena invalid, presumably that

court would order the DA’s Office to destroy or return to Mazars any compliance already provided,

and the DA’s Office would not oppose such an order. Were that to be the case, the DA’s Office

would be forbidden from using that material as part of its investigation or in any future criminal

prosecution.

        The purely speculative—and, frankly, outrageous—claim that it is the intention of the DA’s

Office to expose the President’s personal financial information gets the Plaintiff no closer to

demonstrating irreparable harm. It is well-settled that a “moving party must show that the injury it

will suffer is likely and imminent, not remote or speculative. . . .” N.A.A.C.P., Inc. v. Town of E. Haven,

70 F.3d 219, 224 (2d Cir. 1995). Recklessly hypothesizing that the DA’s Office will expose the material

obtained pursuant to a grand jury subpoena—in deliberate violation of New York state law—is

precisely the type of speculation that fails to satisfy the exacting standard of demonstrating irreparable

harm.

        Next, Plaintiff claims that irreparable harm will necessarily ensue if it becomes public that

there is an ongoing criminal investigation that includes requests from third-parties about business

transactions that relate to the President. Plaintiff claims that the mere fact of such an investigation

will create burdens, distractions and embarrassment that will interfere with his ability to carry out his

duties as the current Chief Executive. See Pl. Complaint ¶ 22; Pl. Memo. of Law at 11.




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        This argument, however, conveniently ignores the years of daily public reporting about the

extensive criminal investigations by the Special Counsel and the United States Attorney for the

Southern District of New York into exactly these types of business transactions involving Plaintiff

and his companies, employees and affiliates. Indeed, those criminal investigations included not only

grand jury subpoenas, but grand jury testimony, indictments, trials, and guilty pleas that resulted in

determinations that certain of the transactions at issue were criminal. At no point in those “criminal

proceedings” did Plaintiff seek an injunction or make the sweeping immunity claims he makes here.

        Even more remarkably, in one of those federal criminal investigations, one of Plaintiff’s

former lawyers admitted publicly to engaging in crimes at the behest of Plaintiff. In that case, an

indictment brought in the Southern District of New York asserted that the lawyer was assisted in a

criminal transaction by an unindicted co-conspirator, who was then identified in sworn Congressional

testimony as the Plaintiff himself. See, e.g., Shinerock Decl. at ¶ 17(e). Again, in that case, Plaintiff made

no effort to enjoin the proceeding on the ground of presidential immunity. These facts belie Plaintiff’s

claim that any “insinuation, even if made obliquely,” “that it is probable that the President has

committed a crime” is somehow unconstitutional. Pl. Memo. of Law at 13 (citation and quotation marks

omitted). Despite this direct and public allegation that the Plaintiff engaged in criminal conduct, no

“irreparable harm” has yet impeded Plaintiff’s continued service in office.

        At bottom, what distinguishes the currently challenged subpoena from the prior criminal

inquiries described above appears to be that the third-party subpoena here seeks actual tax returns. In

other words, Plaintiff is, in fact, seeking to invent and enforce a new presidential “tax return privilege,”

on the theory that disclosing information in a tax return will necessarily reveal information that will

somehow impede the functioning of a President, sufficiently to meet the test of irreparable harm.

Putting aside that no such privilege exists in the law, this claim of irreparable harm is undone by the

fact that every President since Jimmy Carter has voluntarily released his tax returns before or upon

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taking office, which has to date never impeded a President’s ability to serve. Again, there is no

“immunity from scrutiny” of this sort in the law.

       Finally, Plaintiff claims that, without an injunction, he will suffer irreparable because he will

be impeded in his ability to secure further review of his constitutional claim. Pl. Memo. of Law at 8.

Any such judicial review, however, can occur at the same time that Mazars begins complying. As

discussed above, in the unlikely event that a court ultimately rules the Mazars Subpoena invalid, the

DA’s Office would destroy or return the Mazars materials, and Plaintiff would be restored to the

position it occupied pre-compliance.

B.     Plaintiff’s Request for Injunctive Relief Must Be Denied, as He Has Failed to Show a
Likelihood of Success on the Merits Based on a Claimed Presidential Immunity from
Investigation That Applies Not Only To Him, But To Anyone Who Ever Worked for One of
His Companies

       Before this Court can grant the extraordinary remedy of injunctive relief, Plaintiff must also

demonstrate a likelihood of success on the merits. Here, that requires a showing that he is likely to

succeed in permanently enjoining Mazars from complying with the subpoena based on the novel legal

theory that a sitting President enjoys immunity, not only from criminal prosecution, but from any

criminal investigation, regardless of whether the conduct took place before he was President. In fact,

Plaintiff has an even steeper climb to demonstrate a likelihood of success, given that his newly-claimed

immunity extends to the President, but also to the President’s companies and every individual who

worked at one of those companies. As Plaintiff’s own papers make plain, no authority exists to

support such a sweeping claim of immunity, which makes a showing of likelihood of success on the

merits impossible.

       As discussed above, no such investigative immunity exists for the President or anyone else.

More importantly, the very issue at hand—whether the President must comply with an investigative

grand jury subpoena—has previously been answered in the affirmative. See United States v. Nixon, 418

U.S. 683, 706, 713 (1974) (rejecting President Nixon’s claim of an “absolute privilege,” based on the
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Separation of Powers, that “insulates a President from judicial subpoena in an ongoing criminal

prosecution. . . .”); see also Nixon v. Sirica, 487 F.2d 700 (D.C. Cir. 1973).

        In Sirica, President Nixon challenged an order of the District Court for the District of

Columbia that was entered “as a means of enforcing a grand jury subpoena duces tecum issued and

served on [the President].” Id. at 704. The court “reject[ed]” the argument put forth by Counsel for

President Nixon that “the President is absolutely immune” from complying with the subpoena. Id. at

708, 711. 1 In doing so, the circuit court relied on, among other precedent, United States v. Burr, and

characterized Chief Justice Marshall as “squarely rul[ing] that a subpoena may be directed to the

President.” Id. at 709-10. Indeed, in Burr, Chief Justice Marshall stated: “If, in any court of the United

States, it has ever been decided that a subpoena cannot issue to the President, that decision is unknown

to this court.” United States v. Burr, 25 F. Cas. 30, 34 (C.C. Va. 1807); see Presidential Amenability to Judicial

Subpoenas, p. 5. Robert G. Dixon, Jr. (June 25, 1973) (explaining that “[m]odern legal discussion of the

power of the courts to subpoena the President still adheres to Chief Justice Marshall’s view that the

President is not exempt from judicial process. . . .”).

        Here, of course, the Mazars Subpoena is not directed at the President himself, but to a third

party, which ensures that the “tasks of compliance” do not “interfere with the President’s official

responsibilities.” Sirica, 487 F.2d at 711. Moreover, the Mazars Subpoena, which seeks private

business records, implicates even fewer concerns than the subpoena deemed valid in Nixon, where the

materials sought related to the “performance of the President’s responsibilities.” Nixon, 418 U.S. at

711.




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         When citing Sirica, Plaintiff ignores this directly applicable holding announced by the court’s
majority, instead choosing to focus on the concurring, in part, and dissenting, in part, portions. See
Pl. Mem. of Law at 10, 14.

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        Plaintiff also conflates the distinction between immunity from prosecution and immunity from

investigation, by pointing, in a misleading way, to views that say a President may not be prosecuted

while in office (Pl. Memo. of Law at 9). See, e.g., A Sitting President’s Amenability to Indictment and Criminal

Prosecution, 24 O.L.C. Op. (Oct. 16, 2000) (the “OLC Memo”); Amenability of the President, Vice President,

and Other Civil Officers to Criminal Prosecution While in Office (Sept. 24, 1973) (the “Dixon Memo”); In re

Proceedings of the Grand Jury Impaneled Dec. 5, 1972, No. 73-cv-965, 20 (D. Md.)

        In the first place, contrary to Plaintiff’s assertion, it is simply not true that “virtually ‘all legal

commentators agree’” that a sitting President is immune, not only from criminal prosecution, but from

investigation for wrongful acts prior to taking office. See Pl. Complaint at ¶¶ 1, 3. Indeed, at least since

the Bork memo that is much relied upon by Plaintiff (which was written in 1972), there has been a

robust debate among legal commentators about whether a sitting President can be criminally charged,

with widespread disagreement, and with absolutely no guidance from the courts. 2

        Again, however, that is not the issue here, as there is no threatened or pending state charge

against a sitting President. Instead, the sole question is whether a third-party business entity should

be required to produce records relating to business transactions that took place among a variety of

individuals and entities—including the President—before the President took office. On this point,




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           As the former head of the United States Justice Department Office of Legal Counsel put it,
a review of relevant Justice Department memos and publicly filed legal briefs shows that there is no
“longstanding policy” against indictment of the President, and “whether or not a president can be
indicted or named as an unindicted co-conspirator should not be considered a settled question,”
Walter Dellinger, Indicting a President is Not Foreclosed: The Complex History, Lawfare Blog, June 18, 2018,
available at https://www.lawfareblog.com/indicting-president-not-foreclosed-complex-history; see
Susan Low Block, Can We Indict a Sitting President?: foreward to Ought a President of the United States Be
Prosecuted, 2 Nexus 7 (1997), available at https://scholarship.law.georgetown.edu/facpub/1560; Eric
M. Freedman, On Protecting Accountability, 27 Hofstra L. Rev. 677 (1999). Other commentators are less
equivocal. See Memorandum to Independent Counsel Kenneth Starr, May 13, 1998 (concluding that “President
Clinton is subject to indictment and criminal prosecution,” though perhaps not imprisonment until
he leaves office).

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there is no support, in case decisions or in the works of “legal commentators,” for the Plaintiff’s claim

of a blanket immunity from scrutiny of such transactions.

          In this regard, Plaintiff also incorrectly cites the OLC Memo for the proposition that

Presidential immunity from prosecution while in office extends to investigations. See Pl. Memo of Law

at 9 (“Nor can he be investigated” [citing the OLC Memo]). The OLC Memo, however, says no such

thing. The singular conclusion of the OLC Memo is: “The indictment or criminal prosecution of a

sitting President would impermissibly undermine the capacity of the executive branch to perform its

constitutionally assigned functions.” OLC Memo at 222; see Dixon Memo at 18 (the “memorandum

deals with the question of whether and to what extent the President is immune from criminal

prosecution while he is in office”). The memo does not say that the immunity should apply to

investigations; indeed, the memo at least impliedly endorses the idea that a sitting President may be

criminally investigated. See OLC Memo at 257 n. 36 (2000) (during the period that a sitting President

enjoys immunity from criminal prosecution, “[a] grand jury could continue to gather evidence.”). 3

          Plaintiff therefore fails to satisfy his burden of showing a likelihood of success in permanently

enjoining Mazars from complying with the Subpoena, which means that injunctive relief should be

denied.




          The Plaintiff’s position is further undermined by the fact of the investigation recently
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undertaken by Special Counsel Robert Mueller and related investigations conducted by the United
States Attorney’s Office for the Southern District of New York, where no such objections were raised.

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C.      The Balance of Equities and Public Interest Both Favor Denying Injunctive Relief

        To satisfy his burden, the Plaintiff must also demonstrate that the balance of equities tips in

his favor and that the injunction is in the public interest. He fails to make the requisite showing on

both fronts.

        The public interest militates against entering injunctive relief. The interests of the Grand Jury,

and by extension the People of New York, will be injured by suspension of the Mazars Subpoena, and

this countervailing interest must be weighed in the final analysis. Plaintiff has asserted that, should

his request for relief be rejected here, he will immediately appeal, which makes it all the more damaging

to force the DA’s Office to place its investigation on hold while this dispute is decided. See Hynes, 54

N.Y.2d at 443-44 (“Constant delays occasioned by unmeritorious motions to quash followed by

routine appeals can lead not only to the loss of evidence and the fading of witnesses’ memories, but

also may completely frustrate the course of legitimate investigation into potentially criminal activity.”);

Nixon, 418 U.S. at 713 (“Without access to facts a criminal proceeding may be totally frustrated.”).

        The Bork Memo makes this same point, albeit in the context of the vice president: “enjoining

the investigation and presentation of evidence . . . would require the investigations of other persons

also to be suspended,” which would “plainly frustrate the public’s interest in the fair and expeditious

administration of the criminal laws.” Bork Memo at 22 (internal quotations and citations omitted); see

Dixon Memo at 17 (suspending grand jury proceedings against federal officer “would seriously

interfere with the investigation”). Similarly, any such suspension of an investigation in this case would

likely cause statutes of limitations to run with respect to other individuals and entities (the dates of

many of the transactions at issue are such that the limitations periods could expire in a matter of

months), and inappropriately provide them “permanent immunity from prosecution,” Bork Memo at

22, which, needless to say, would be against the public’s interest.




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                                          CONCLUSION

       For these reasons, the Court should grant defendant Vance’s motion to dismiss, and deny

Plaintiff’s emergency motion for a temporary restraining order and a preliminary injunction.



       Dated: New York, New York                      Respectfully submitted,
              September 23, 2019

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